8:18-cv-00329-JMG-SMB          Doc # 298      Filed: 05/03/23     Page 1 of 57 - Page ID # 4551




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

 EQUAL EMPLOYMENT OPPORTUNITY
 COMMISSION,
                                                                     ORDER ON
                        Plaintiff,                                FINAL PRETRIAL
 and                                                               CONFERENCE

 ANDREW DEUSCHLE,
                                                                     8:18-CV-00329
                      Intervenor Plaintiff,

         vs.

 WERNER ENTERPRISES, INC.,

                        Defendant.


        A final pretrial conference was held on the 3rd day of May, 2023. Appearing for the parties
 as counsel were:

        Appearing for Plaintiff:
                               Meredith S. Berwick, MO Bar No. 64389
                               EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               St. Louis District Office
                               1222 Spruce St., Rm. 8.100
                               St. Louis, MO 63139
                               (314) 798-1909
                               meredith.berwick@eeoc.gov

                               Joshua M. Pierson, KS Bar No. 29095
                               Lauren M. Wilson, FL Bar No. 1024850
                               EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Kansas City Area Office
                               400 State Avenue, Suite 905
                               Kansas City, Kansas 66101
                               (913) 359-1807
                               joshua.pierson@eeoc.gov
                               lauren.wilson@eeoc.gov

        Appearing for Intervenor Plaintiff:
                              Brian East, TX Bar No. 06360800
                              DISABILITY RIGHTS TEXAS
8:18-cv-00329-JMG-SMB            Doc # 298      Filed: 05/03/23     Page 2 of 57 - Page ID # 4552




                                2222 West Braker Lane
                                Austin, Texas 78758-1024
                                Phone: (512) 454-4816
                                beast@drtx.org
                                Appearing Pro Hac Vice

                                Lia Sifuentes Davis, TX Bar No. 24071411
                                UNIVERSITY OF TEXAS SCHOOL OF LAW
                                727 East Dean Keeton Street
                                Austin, TX 78705
                                Phone: (512) 232-7222
                                Lia.davis@law.utexas.edu
                                Appearing Pro Hac Vice

        Appearing for Defendant:

                                Patrick J. Barrett, NE Bar No. 17246
                                Elizabeth A. Culhane, NE Bar No. 23632
                                FRASER STRYKER PC LLO
                                500 Energy Plaza
                                409 South 17th Street
                                Omaha, NE 68102-2663
                                Phone: (402) 341-6000
                                pbarrett@fraserstryker.com
                                eculhane@fraserstryker.com

        (A)      Exhibits. See attached Exhibit Lists.


        (B)      Uncontroverted Facts. The parties have agreed that the following may be accepted
 as established facts for purposes of this case only:
        1. This Court has jurisdiction over the parties and venue is proper.
        2. Werner is a motor carrier engaged in transporting truckload shipments of commodities
              in interstate and intrastate commerce throughout the United States.
        3. Andrew Deuschle applied to work as an interstate truck driver for Werner Enterprises,
              Inc. in March 2015.
        4. Werner did not hire Andrew Deuschle as a driver in 2015.
        5. Werner employed over 500 employees during the entire time from January 1, 2014 to
              the present.
        6. Andrew Deuschle is deaf.


                                                   2
8:18-cv-00329-JMG-SMB             Doc # 298      Filed: 05/03/23      Page 3 of 57 - Page ID # 4553




        7. Deuschle had a disability as that term is defined in the ADA at the time that he applied
              to Werner.
        8. Andrew Deuschle attended Amarillo College’s Truck Driving Academy.
        9. The Federal Motor Carrier Safety Administration (FMCSA) is an agency in the United
              States Department of Transportation that regulates the trucking industry in the United
              States.
        10. The only part of its truck driving job that Werner claims Andrew Deuschle could not
              perform, with or without accommodation, at the time he applied to Werner is the
              trainer-observed over-the-road component of its student driver program (now known
              as the “placement driver program”), where a trainer rides along with a student driver
              for observation and training.


        (C)      Controverted and Unresolved Issues. The issues remaining to be determined and
 unresolved matters for the court’s attention are:
        1. Whether Werner failed to hire Andrew Deuschle on the basis of his disability in
              violation of the Americans with Disabilities Act, 42 U.S.C. § 12112(a).
        2. Whether Werner failed to make reasonable accommodation to Andrew Deuschle’s
              known physical limitations and/or failed to hire him based on Werner’s need to make
              reasonable accommodation to Deuschle’s deafness in violation of the Americans with
              Disabilities Act, 42 U.S.C. §12112(b)(5).
        3. Plaintiffs’ position is that whether Werner’s Deaf Recruitment Policy illegally
              “classif[ies]” job applicants because of disability “adversely affect[ing] the
              opportunities or status of such applicant[s]” relative to non-disabled applicants in facial
              violation of the Americans with Disabilities Act, 42 U.S.C. § 12112(b)(1) is
              unresolved. It is Werner’s position that this is an issue of law to be decided by the
              Court.
        4. It is Defendant’s position that the issue of whether the EEOC’s claim alleged in Count
              III of the Amended Complaint is moot because Werner discontinued use of the internal
              hiring guideline attached as Exhibit 2 to the EEOC’s Amended Complaint is
              unresolved. It is Plaintiff-EEOC’s position that whether Werner has permanently
              discontinued use of the internal hiring guideline remains unresolved and that Werner’s


                                                     3
8:18-cv-00329-JMG-SMB          Doc # 298      Filed: 05/03/23      Page 4 of 57 - Page ID # 4554




            discontinued use of its internal hiring guideline is not dispositive on the issue of
            mootness.
      5. It is Plaintiffs’ position that the issue of whether the trainer-observed over-the-road
            component of Werner’s student driver program is an essential function of the truck
            driver job is unresolved. It is Defendant’s understanding, based on the Court’s March
            31, 2023, Memorandum and Order, that this issue is not in dispute. (See Filing 292,
            Memorandum and Order, Page ID # 4507).
      6. It is Defendant’s position that whether Andrew Deuschle could safely perform the
            trainer-observed over-the-road component of Werner’s placement driver program with
            or without reasonable accommodation is unresolved. It is Plaintiffs’ position that the
            issue of whether Andrew Deuschle could perform the trainer-observed over-the-road
            component with or without reasonable accommodation is unresolved.
      7. Whether Deuschle was a qualified individual with a disability who, with or without a
            reasonable accommodation, could perform the essential functions of the position, at the
            time he was not hired.
      8.     It is Defendant’s position that whether Werner’s decision not to hire Deuschle was
             motivated by reasons other than Deuschle’s alleged disability is unresolved. It is
             Plaintiffs’ position that Defendant could have been motivated by more than one
             reason and still have violated the ADA.
      9.     It is Defendant’s position that whether Werner would have taken the same action or
             reached the same decision regarding Deuschle’s application regardless of whether
             Deuschle had an alleged disability or not is at issue. It is Plaintiffs’ position that
             Defendant could have been motivated by more than one reason and still have violated
             the ADA.
      10.    It is Defendant’s position that whether Werner’s actions were for legitimate non-
             discriminatory reasons taken out of business necessity is an unresolved issue. It is
             Plaintiffs position that this analysis is not appropriate for trial and also contend that
             if Werner’s position is that the over-the-road training is an essential function and not
             a qualification standard, then business necessity is irrelevant.
      11.    It is Defendant’s position that whether Werner acted in good faith and without
             discriminatory motive and had reasonable grounds for believing that its alleged acts

                                                 4
8:18-cv-00329-JMG-SMB           Doc # 298         Filed: 05/03/23     Page 5 of 57 - Page ID # 4555




             or omissions were not a violation of law is unresolved. It is Plaintiffs’ position that
             this is not an issue in this case.
      12.    It is Defendant’s position that whether all decisions made by Werner regarding
             Deuschle's employment were based on reasonable, lawful, and non-discriminatory
             factors is unresolved. It is Plaintiffs’ position that this is not an issue in this case.
      13.    It is Defendant’s position that whether the practice alleged to be discriminatory is
             justified by a bona fide occupational qualification, in that Deuschle could not perform
             the duties of the position of student driver in a safe and efficient manner, and the
             essence of Werner's business operation would therefore be undermined if Werner
             were required to employ Deuschle is unresolved. It is Plaintiffs’ position that there is
             no bona fide occupational qualification defense to an ADA claim, and also contend
             that if Defendant’s position is that the over-the-road training is an essential function,
             then BFOQ—or any rough analog to BFOQ—is irrelevant.
      14.    It is Defendant’s position that whether Plaintiff and Intervenor's claims are barred
             because of Werner's compliance with relevant underlying law(s) is unresolved. It is
             Plaintiffs’ position that this is not an outstanding issue for the Court.
      15.    It is Defendant’s position that whether Plaintiff and Intervenor’s failure-to-hire claim
             related to Deuschle’s application(s) for employment, or some of them, are barred by
             the applicable statute of limitations is unresolved. It is Plaintiffs’ position that this is
             not an outstanding issue for the Court.
      16.    It is Defendant’s position that whether Deuschle has failed to mitigate or make
             reasonable attempts to mitigate his alleged damages, if any, and, if so, the period of
             time during which he is eligible for back pay or compensatory damages is unresolved.
             It is Plaintiffs’ position that there is a contested issue as to whether Andrew Deuschle
             failed to mitigate back pay and benefits.
      17. Whether Plaintiffs’ forthcoming motions in limine should be sustained.
      18. Whether Defendants' forthcoming motions in limine should be granted.
      19. Whether Defendants' Motion for Reconsideration should be sustained.
      20. Whether Andrew Deuschle is entitled to back pay and, if so, in what amount.
      21. Whether Andrew Deuschle is entitled to compensatory damages and, if so, in what
            amount.

                                                    5
8:18-cv-00329-JMG-SMB               Doc # 298       Filed: 05/03/23      Page 6 of 57 - Page ID # 4556




         22. Whether punitive damages are appropriate and, if so, in what amount.
         23. Whether to order equitable or injunctive relief and the nature and scope of such relief,
               if any.
         24. It is Defendant’s position that whether and in what amount to award the prevailing
               party costs and attorneys’ fees is at issue. It is Plaintiffs’ position that the proper issue
               is whether and in what amount to award the EEOC and Plaintiff-Intervenor Andrew
               Deuschle costs and attorneys’ fees.
         25. It is Defendant’s position that whether Steven Arndt may testify as an expert and/or
               may testify to all opinions set forth in his report and rebuttal report is unresolved It is
               Plaintiffs’ position that all issues pertaining to expert admissibility have been
               determined by the Court.
         26. It is Defendant’s position that whether Don Olds may testify to all opinions set forth in
               his report and rebuttal report is unresolved. It is Plaintiffs’ position that all issues
               pertaining to expert admissibility have been determined by the Court.
         27. In addition, it is Defendant’s position that additional issues remain in dispute, such that
               Defendant intends to make an offer of proof as to:
                         a. Whether Deuschle’s condition posed a direct threat to the health or safety
                            of himself or others which could not be eliminated by a reasonable
                            accommodation; and
                         b. Whether there was no reasonable accommodation that would have been
                            effective and would not have posed an undue burden on Werner.
                         c. Whether any accommodation would cause an undue burden requiring a
                            fundamental alteration in the nature of Werner's services, programs, or
                            activities or undue financial or administrative burdens.
 It is Plaintiffs’ position that the Court resolved these issues and these issues are no longer in
 dispute. Plaintiffs’ further position is that these issues are inappropriate for offers of proof, as they
 were decided on summary judgment.


         (D)       Witnesses. All witnesses, including rebuttal witnesses, expected to be called to
 testify by plaintiffs, except those who may be called for impeachment purposes as defined in
 NECivR 16.2(c) only, are:

                                                       6
8:18-cv-00329-JMG-SMB       Doc # 298      Filed: 05/03/23     Page 7 of 57 - Page ID # 4557




      1. Andrew Deuschle – will call
         Surprise, AZ

      2. Matthew Deuschle – will call
         Kansas City, Kansas

      3. Scott Hollenbeck – will call
         Werner Enterprises, Inc.
         14507 Frontier Road Omaha, NE 68183

      4. Christopher Hilkemann (Crete Carrier Corporation 30(b)(6)) – will call
         400 NW 56th Street
         Lincoln, NE 68528

      5. Lathen Whited (Covenant Transport 30(b)(6)) – will call
         400 Birmingham Highway
         Chattanooga, TN 37419

      6. Clarence Easterday, Jr. (Western Express 30(b)(6)) – will call
         7135 Centennial Pl.
         Nashville, TN 37209

      7. Lindsay Wilbert (Swift Transportation 30(b)(6)) – will call
         2390 E Camelback Rd.
         Phoenix, AZ 85016

      8. Wayne Cedarholm (CR England 30(b)(6)) – will call
         15 West South Temple, Suite 600
         Salt Lake City, UT 84101

      9. Donald Wayne Gibbs – will call
         Werner Enterprises, Inc.
         14507 Frontier Road Omaha, NE 68183

      10. Jaime Maus – may call
          Werner Enterprises, Inc.
          14507 Frontier Road Omaha, NE 68183

      11. Ben Pile – will call
          Werner Enterprises, Inc.
          14507 Frontier Road Omaha, NE 68183

      12. Chad Rivedal – will call
          Werner Enterprises, Inc.
          14507 Frontier Road Omaha, NE 68183

                                              7
8:18-cv-00329-JMG-SMB             Doc # 298        Filed: 05/03/23        Page 8 of 57 - Page ID # 4558




        13. Erin Marsh – will call
            Werner Enterprises, Inc.
            14507 Frontier Road Omaha, NE 68183

        14. Dale Hunt – will call
            Werner Enterprises, Inc.
            14507 Frontier Road Omaha, NE 68183

        15. Victor Robinson – will call (Defendant will be filing a motion in limine regarding this witness.)
             Kinder, LA

        16. Steve Arndt, PhD – will call
            21720 W. Long Grove Road, Suite C 241
            Deer Park, IL 60010

        17. Don Olds – will call
            6500 Country Road 48
            Anson, TX 79501

        18. Nathan Adams, PhD – will call
            Washington State Institute for Public Policy
            110 5th Ave. SE, Suite 214
            Olympia, WA 98501

        19. All persons needed to lay the foundation for any exhibit.

        20. Any person identified by Defendant.

         [List names and addresses of all persons who will testify in person only. Residential
        addresses must be listed by city and state only. The parties’ witness lists shall identify those
        witnesses each party expects to be present and those witnesses the party may call if the
        need arises, and shall also identify, by placing an “(F)” following the name, any witness
        whose testimony is intended to be offered solely to establish foundation for an exhibit for
        which foundation has not been waived.]


        All witnesses expected to be called to testify by defendant, except those who may be called
 for impeachment purposes as defined in NECivR 16.2(c) only, are:
        1.      Intervenor Andrew Deuschle - Will Call
        2.      Jaime Maus, 14507 Frontier Road, Omaha, NE 68138 - Will Call
        3.      Scott Hollenbeck, 14507 Frontier Road, Omaha, NE 68138 - Will Call


                                                      8
8:18-cv-00329-JMG-SMB           Doc # 298      Filed: 05/03/23      Page 9 of 57 - Page ID # 4559




         4.      Dale Hunt, 14507 Frontier Road, Omaha, NE 68138 - May Call
         5.      Rich Johnson, 14507 Frontier Road, Omaha, NE 68138 - May Call
         6.      Donny Gibbs, New Braunfels, Texas - May Call
         7.      Chad Rivedal, 14507 Frontier Road, Omaha, NE 68138 - May Call
         8.      Erin Marsh, 14507 Frontier Road, Omaha, NE 68138 - May Call
         9.      Ben Pile, 14507 Frontier Road, Omaha, NE 68138 - May Call
         10.     Brett Ramsey, 14507 Frontier Road, Omaha, NE 68138 - May Call
         11.     All persons needed to lay the foundation for any exhibit.
         12.     Any person identified by Plaintiff EEOC.
         13.     Any person identified by Intervenor Andrew Deuschle


         It is understood that, except upon a showing of good cause, no witness whose name and
         address does not appear herein shall be permitted to testify over objection for any purpose
         except impeachment. A witness who has been identified as offering testimony solely to
         establish foundation for an exhibit shall not be permitted to testify for any other purpose,
         over objection, unless such witness has been disclosed pursuant to Federal Rule of Civil
         Procedure 26(a)(3). A witness appearing on any party’s witness list may be called by any
         other party.


         (E)     Expert Witnesses’ Qualifications. Experts to be called by plaintiffs and their
 qualifications are:
         1.      Dr. Nathan Adams, CV Attached
         2.      Don D. Olds, Qualifications Attached
         3.      Dr. Steven Arndt, CV Attached
         [Set out the qualifications of each person expected to be called as an expert witness. A
         curriculum vitae or resume may be attached in lieu of setting out the qualifications.]


         Experts to be called by defendant and their qualifications are:
         1.      William C. Adams. A copy of Mr. Adams’ Curriculum Vitae, detailing his
 qualifications, is attached.


         (F)     Voir Dire. Counsel have reviewed Federal Rule of Civil Procedure 47(a) and
 NECivR 47.1 and suggest the following with regard to the conduct of juror examination:

                                                  9
8:18-cv-00329-JMG-SMB          Doc # 298       Filed: 05/03/23      Page 10 of 57 - Page ID # 4560




        Defendant requests that each side be given one hour to question potential jurors.


        Plaintiffs request two hours to conduct voir dire on behalf of the Plaintiffs.

        In addition, each party may submit a proposed list of questions to be asked by the Court
        for the Court’s consideration no later than May 26, 2023.


        (G)     Number of Jurors. Counsel have reviewed Federal Rule of Civil Procedure 48 and
 NECivR 48.1. Plaintiffs suggest that this matter be tried to a jury composed of __8___ members;
 Defendant suggests that this matter be tried to a jury composed of 12 members.


        (H)     Verdict. The parties will not stipulate to a less-than-unanimous verdict.


        (I)     Briefs, Instructions, and Proposed Findings. Counsel have reviewed NECivR
 39.2(a), 51.1(a), and 52.1, and suggest the following schedule for filing trial briefs, proposed jury
 instructions, and proposed findings of fact, as applicable:


        Trial briefs, proposed jury instructions, and verdict forms shall be filed five (5) working
        days before the first day of trial, i.e., on or before May 26, 2023.


        (J)     Deposition Designations. The parties shall exchange deposition designations
 by May 10, 2023, counter-designations and objections to designations by May 17, 2023
 and objections to counter-designations by May 24, 2023.


        (K)     Length of Trial. Counsel estimate the length of trial will consume not less than
 __5__ day(s), not more than __5__ day(s), and probably about __5__ day(s).


        (L)     Trial Date. Trial is set for _______June 5-9, 2023_____________.


        (M)     Electronic Devices:
                Brian East, attorney for Intervenor at Disability Rights—Texas, 2222 West Braker
 Lane, Austin, Texas, shall be allowed to bring in a cell phone.

                                                  10
8:18-cv-00329-JMG-SMB           Doc # 298    Filed: 05/03/23      Page 11 of 57 - Page ID # 4561




                Marisol McNair, Paralegal for Brian East, Disability Rights—Texas, 2222 West
 Braker Lane, Austin, Texas, shall be allowed to bring in a cell phone, laptop and iPad.
                Elizabeth Culhane, Attorney for Defendant at Fraser Stryker Law Firm, 409 S 17th
 Street, Suite 500, Omaha, Nebraska shall be allowed to bring in a cell phone and iPad.
                Colin Thompson, IT person for Elizabeth Culhane, Attorney for Defendant, Fraser
 Stryker Law Firm, 409 S 17th Street, Suite 500, Omaha, Nebraska shall be allowed to bring in a
 cell phone, laptop and iPad.
                Andrew Aley, IT person for Elizabeth Culhane, Attorney for Defendant, Fraser
 Stryker Law Firm, 409 S 17th Street, Suite 500, Omaha, Nebraska shall be allowed to bring in a
 cell phone, laptop and iPad.


 Respectfully submitted,


 For Plaintiff EEOC:
                        Meredith S. Berwick, MO Bar No. 64389
                        EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                        St. Louis District Office
                        1222 Spruce St., Rm. 8.100
                        St. Louis, MO 63139
                        (314) 798-1909
                        meredith.berwick@eeoc.gov

                        Joshua M. Pierson, KS Bar No. 29095
                        Lauren M. Wilson, FL Bar No. 1024850
                        EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                        Kansas City Area Office
                        400 State Avenue, Suite 905
                        Kansas City, Kansas 66101
                        meredith.berwick@eeoc.gov
                        joshua.pierson@eeoc.gov
                        lauren.wilson@eeoc.gov

 For Plaintiff-Intervenor:
                        Brian East, TX Bar No. 06360800
                        DISABILITY RIGHTS TEXAS
                        2222 West Braker Lane
                        Austin, Texas 78758-1024
                        Phone: (512) 454-4816

                                                11
8:18-cv-00329-JMG-SMB   Doc # 298     Filed: 05/03/23      Page 12 of 57 - Page ID # 4562




                  beast@drtx.org
                  Appearing Pro Hac Vice

                  Lia Sifuentes Davis, TX Bar No. 24071411
                  UNIVERSITY OF TEXAS SCHOOL OF LAW
                  727 East Dean Keeton Street
                  Austin, TX 78705
                  Phone: (512) 232-7222
                  Lia.davis@law.utexas.edu
                  Appearing Pro Hac Vice

                  Diane D. DeLair, NE Bar No. 21867
                  DISABILITY RIGHTS NEBRASKA
                  134 South 13th Street
                  Lincoln, NE 68508
                  Phone: (402) 474-3274
                  dianne@drne.org

 For Defendant:
                  Patrick J. Barrett, NE Bar No. 17246
                  Elizabeth A. Culhane, NE Bar No. 23632
                  Sarah L. (Sally) McGill, NE Bar No. 24790
                  FRASER STRYKER PC LLO
                  500 Energy Plaza
                  409 South 17th Street
                  Omaha, NE 68102-2663
                  Phone: (402) 341-6000
                  pbarrett@fraserstryker.com
                  eculhane@fraserstryker.com
                  smcgill@fraserstryker.com

                                                BY THE COURT:




                                                __________________________
                                                Susan M. Bazis
                                                United States Magistrate District Judge




                                           12
8:18-cv-00329-JMG-SMB               Doc # 298      Filed: 05/03/23     Page 13 of 57 - Page ID # 4563




                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                     DISTRICT OF NEBRASKA

 Equal Employment                                         )
 Opportunity Commission,                                  )
                                                          )
                            Plaintiff,                    )
                                                          )
 and                                                      )
                                                          )
 Andrew Deuschle,                                         )
                                                          )     Plaintiff and Intervenor’s
                            Plaintiff-Intervenor          )       LIST OF EXHIBITS
                                                          )
                    v.                                    )         Case Number: 8:18cv329
                                                          )         Courtroom Deputy:
 Werner Enterprises, Inc.,                                )         Court Reporter:
                                                          )
                            Defendant(s).                 )

 Trial Date(s): June 5, 2023-June 9, 2023


      EXHIBIT NO.

  PLF        DF     3 PTY   DESCRIPTION                       OFF      OBJ            RCVD   NOT    DATE
                                                                                             RCVD

  1                         Werner 000054: 4.7.15
                            Deuschle and Hunt email
  2                         Werner 000001: Deuschle
                            Application
  3                         Werner 000002: Deuschle
                            Application
  4                                                                   R, H, O (Rule
                            Werner 000003: Deuschle
                                                                      403)
                            Application Preapproval 2014
  5                                                                    R, H, O
                            Werner 000004: 4.24.15
                                                                      (foundation)
                            Email from Trucker Grand
                            Central
  6                         Werner 000005-000006:
                            Application from Trucker
                            Grand Central Inquiry
  7                         Werner 000007: Deuschle
                            Application Preapproval 2015




                                                     1
8:18-cv-00329-JMG-SMB   Doc # 298     Filed: 05/03/23    Page 14 of 57 - Page ID # 4564




  8               Werner 21757-21758: 2015              R, H, O (Rule
                  Deuschle Preapproval with             403)
                  note
  9               Werner 000008: Deuschle
                  Resume
  10              Werner 000063-000065:                 R, H
                  4.8.15 Desuchle and Gibbs
                  emails
  11              Werner 000066-000072:                 H
                  Deuschle and Gibbs emails
  12              Werner 000061-000062:
                  4.24.15 Deuschle and Gibbs
                  email exchange
  13              Werner 000055: 4.24.15
                  Deuschle email
  14              Werner 000049: Deuschle               R, H
                  application dashboard
  15              Werner 8353-8361: Deuschle            R, H, O
                  application audit trail               (unnecessarily
                                                        cumulative and
                                                        likely to cause
                                                        juror confusion)

  16              Werner 000071-000072:                 R, H
                  Deuschle and Werner
                  Apprentice Team emails
                  04.24.15-04.28.15
  17              Werner 000340: Deuschle and           R, H
                  Gibbs email exchange 5.5.18
  18              Werner 000321-000323:                 R, H
                  Deuschle and Gibbs emails
                  4.8.15
  19              Werner 000324-000325:                 R, H
                  Deuschle and Gibbs emails
                  4.8.15
  20              Werner 000326-000327:                 R, H
                  Deuschle and Gibbs emails
                  4.8.15
  21              Werner 000328: Deuschle
                  email to Gibbs
  22              Werner 000329-000330:
                  Deuschle and Gibbs emails
                  4.23.15 and 4.24.15


                                         2
8:18-cv-00329-JMG-SMB   Doc # 298     Filed: 05/03/23    Page 15 of 57 - Page ID # 4565




  23              Werner 000331-000335:                 H, O
                  Deuschle email to Gibbs with          (foundation)
                  attachments 4.27.15

  24              Werner 000336: Deuschle
                  email to Gibbs
  25              Werner 000337-000338:
                  Deuschle and Gibbs emails
                  4.27.15 Gibbs
  26              Werner 000339: Deuschle,              R, H, O
                  Gibbs and Trout emails 5.5.15         (unnecessarily
                                                        cumulative and
                                                        likely to cause
                                                        juror confusion,
                                                        appears to be
                                                        duplicate of
                                                        Exhibit 17)
  27              Werner 000064: Deuschle               R, H
                  email to Gibbs 4.8.15
  28              Werner 000393: Deuschle               R, H, O
                  Application Preapproval               (Rule 403,
                                                        appears to be
                                                        duplicate of
                                                        Exhibit 4)

  29              Werner 000056-000060:                 H, O
                  Deuschle emails to Gibbs with         (foundation,
                  attachments 4.24.15 and               unnecessarily
                  4.27.15                               cumulative,
                                                        appears to be
                                                        duplicate of
                                                        Exhibit 23)
  30              Deuschle 000142-000144:               R, H, O
                  Deuschle and Gibbs emails             (foundation,
                                                        unnecessarily
                                                        cumulative,
                                                        appears to be
                                                        duplicate of
                                                        Exhibit 10)
  31              Werner 000397: Notes on               R, H, O (Rule
                  Deuschle application                  403,
                                                        unnecessarily
                                                        cumulative,
                                                        appears to be
                                                        duplicate of p.



                                         3
8:18-cv-00329-JMG-SMB   Doc # 298      Filed: 05/03/23    Page 16 of 57 - Page ID # 4566




                                                         2 of Exhibit 8)

  32              Deuschle 000149: Deuschle              R, H, O
                  text to Hunt                           (foundation,
                                                         Rule 403)

  33              Deuschle 000156: Deuschle              R, H, O
                  Letter to Review Board                 (foundation)

  34              Deuschle 000157: U.S.                  R, H, O
                  Certified Mail Receipt                 (foundation)

  35              Deuschle 000158: Web                   R, H, O
                  Confirmation of Certified              (foundation)
                  Mail Delivery
  36              Werner 000017: Deuschle                R, O
                  CDL 2015-2020                          (unnecessarily
                                                         cumulative,
                                                         duplicate of p.
                                                         3 of Exhibits 23
                                                         and 29)
  37              Werner 000052: Deuschle                R, O
                  Driver Certification Card              (unnecessarily
                                                         cumulative,
                                                         duplicate of p.
                                                         4 of Exhibits 23
                                                         and 29)
  38              Werner 000053; Deuschle                H, O
                  000052-000054                          (unnecessarily
                  3: Deuschle Medical                    cumulative, p. 1
                  Examiner’s Certificate                 is duplicative of
                  8.25.14-8.25.15                        p. 5 of Exhibits
                                                         23 and 29)
  39              Deuschle 000009, Deuschle              H, R, O
                  000013-000015: Deuschle                (unnecessarily
                  Medical Examiner’s                     cumulative,
                  Certificate 5.18.15-5.18.17            likely to cause
                                                         juror confusion,
                                                         Rule 403)

  40              EEOC-DRI000446: Deuschle               H, R, O
                  Medical Examiner’s                     (unnecessarily
                  Certificate 3.28.17-3.28.19            cumulative,
                                                         likely to cause
                                                         juror confusion,
                                                         Rule 403)


                                           4
8:18-cv-00329-JMG-SMB   Doc # 298      Filed: 05/03/23    Page 17 of 57 - Page ID # 4567




  41              Deuschle 000170: Deuschle              H, R, O
                  Medical Examiner’s                     (unnecessarily
                  Certificate 5.29.18-5.29.19            cumulative,
                                                         likely to cause
                                                         juror confusion,
                                                         Rule 403)
  42              Werner 000057: Deuschle                H, O
                  Exemption Letter 6.27.14               (foundation,
                                                         unnecessarily
                                                         cumulative,
                                                         duplicate of p.
                                                         2 of Exhibits 23
                                                         and 29)
  43              2020.04.23 Crete (Deuschle)            R, H, O
                  p. 149 (response to Werner’s           (foundation,
                  subpoena): Deuschle                    Rule 403,
                  Exemption Letter 3.18.16               unnecessarily
                                                         cumulative and
                                                         likely to cause
                                                         juror confusion)
  44              EEOC-DRI000441-442:                    R, H, O
                  Deuschle Exemption Letter              (foundation,
                  5.14.18                                Rule 403,
                                                         unnecessarily
                                                         cumulative and
                                                         likely to cause
                                                         juror confusion)
  45              Deuschle 000059-000060:                H, O
                  Deuschle 2014-2016 Hearing             (foundation)
                  Exemption
  46              Deuschle 000168: Deuschle              R, O (Rule 403,
                  2016-2018 Hearing                      unnecessarily
                  Exemption                              cumulative and
                                                         likely to cause
                                                         juror confusion)
  47              Deuschle 000169: Deuschle              R, O (Rule 403,
                  2018-2020 Hearing                      unnecessarily
                  Exemption                              cumulative and
                                                         likely to cause
                                                         juror confusion)
  48              EEOC-DRI000304: Deuschle               R, O (Rule 403,
                  Arizona CDL 12.10.19-                  unnecessarily
                  12.10.24 (copy of license              cumulative and
                  only)                                  likely to cause
                                                         juror confusion)



                                          5
8:18-cv-00329-JMG-SMB   Doc # 298      Filed: 05/03/23    Page 18 of 57 - Page ID # 4568




  49              EEOC-DRI000445: Deuschle               R, O (Rule 403,
                  Texas CDL 8.24.16-8.31.20              unnecessarily
                  (copy of license only)                 cumulative and
                                                         likely to cause
                                                         juror confusion)

  50              2020.04.23 Crete (Deuschle)            R, H, O
                  pp. 12-25 (response to                 (foundation,
                  Werner’s subpoena)                     Rule 403)

  51              Deuschle 000046: Crete                 R, H, O
                  Carrier Letter to Deuschle             (foundation,
                                                         Rule 403)

  52              Deuschle 000047: Crete                 R, H, O
                  Carrier 1 Year Safe Driving            (foundation,
                  Award Accident Free                    Rule 403)

  53              Deuschle 000048: Crete                 R, H, O
                  Carrier 1 Year Safe Driving            (foundation,
                  Award Accident Free                    Rule 403)

  54              Deuschle 000065: National              R, H, O
                  Safety Council Completion              (foundation,
                  Record DDC Professional                Rule 403, best
                  Truck Driver                           evidence rule)

  55              Deuschle 000066: Amarillo              R, H
                  College Diploma
  56              Deuschle 000067: The                   R, H
                  Forklift Workshop
                  Completion Certificate
  57              Deuschle 000068: Amarillo              R, H
                  College Final Grade Sheet
  58              Deuschle 000070: Post from             R, H, O
                  Amarillo College                       (foundation,
                                                         Rule 403,
                                                         unnecessarily
                                                         cumulative)
  59              Werner 000073-000302:                  R, O
                  Werner Driver Handbook                 (unnecessarily
                  2014.10                                cumulative and
                                                         likely to cause
                                                         juror confusion




                                          6
8:18-cv-00329-JMG-SMB   Doc # 298     Filed: 05/03/23    Page 19 of 57 - Page ID # 4569




                                                        to the extent
                                                        Plaintiff and
                                                        Intervenor
                                                        intend to offer
                                                        the entire
                                                        document)
  60              Werner 8395: Morbach and              R, H, O
                  Hunt emails 10.28.13                  (foundation,
                                                        Rule 403)

  61              Werner 8392: Breland and              R, H, O
                  Hunt emails 6.12.14                   (foundation,
                                                        Rule 403)

  62              Werner 000385-000417:                 R, H, O
                  12.3.15 Werner Position               (foundation,
                  Statement with exhibits               Rule 403,
                                                        unnecessarily
                                                        cumulative and
                                                        likely to cause
                                                        juror confusion)

  63              Werner 000041: OTR driver
                  position description
  64              Werner 001295: Co-driver
                  training hour matrix
  65              Werner 851_001-851_002:               R, O
                  FMCSA Waiver &                        (Rule 403)
                  Accommodations
  66              Werner 850_001-850_002:               R, O (Rule 403,
                  FMCSA/MCSA-5870 Process               should be
                                                        offered for
                                                        consideration
                                                        by the Court
                                                        only, if at all,
                                                        because this
                                                        document is
                                                        only relevant to
                                                        Plaintiff
                                                        EEOC’s Count
                                                        III, which
                                                        presents an
                                                        issue of law for
                                                        the Court)
  67              Werner 000843: Driver Hiring          R, O (Rule 403)
                  Guidelines


                                            7
8:18-cv-00329-JMG-SMB    Doc # 298      Filed: 05/03/23    Page 20 of 57 - Page ID # 4570




  68              Werner 000865_001-                      R, O (Rule 403)
                  000865_003: Working a
                  Driver’s File
  69              Werner 8433: Chat log                   R, H, O
                  3.30.18 (13 pages)                      (Foundation,
                                                          Rule 403)
  70              Werner 8469: Chat log                   R, H, O
                  11.21.18 (4 pages)                      (Foundation,
                                                          Rule 403)
  71              Werner 8432: Chat log                   R, H, O
                  4.20.18 (9 pages)                       (Foundation,
                                                          Rule 403)
  72              Werner 8482: Email chain                R, H, O
                  with Erin Marsh et al. 5.8.18-          (Foundation,
                  5.9.18 (3 pages)                        Rule 403)
  73              Werner 8430: Chat log                   R, H, O
                  11.27.18 (3 pages)                      (Foundation,
                                                          Rule 403)


  74              Werner 8429: Chat log                   R, H, O
                  1.22.18 (9 pages)                       (Foundation,
                                                          Rule 403)

  75              Werner 00575-00589: Blank               R
                  Werner Driver Application
  76              Werner 855_001-855_004:                 R, O
                  Pass/Reject Rules                       (Rule 403)

  77              Werner 867_001-867_018:                 R, O
                  Reviewing a Qualified File for          (Rule 403)
                  Final
  78              Werner 860_001-860_003:                 R, O
                  Route/Copy/Pend                         (Rule 403)
  79              Werner 000457-000458:                   R, H, O
                  3.30.16 emails between EEOC             (Foundation,
                  investigator and Werner’s               Rule 403, likely
                  counsel                                 to cause juror
                                                          confusion)

  80              Werner 000318-000343:                   R, H, O
                  Werner response to EEOC                 (foundation,
                  RFI 6.27.16                             Rule 403,
                                                          unnecessarily
                                                          cumulative,
                                                          likely to cause

                                           8
8:18-cv-00329-JMG-SMB   Doc # 298     Filed: 05/03/23    Page 21 of 57 - Page ID # 4571




                                                        juror confusion
                                                        to the extent
                                                        Plaintiff and
                                                        Intervenor
                                                        intend to offer
                                                        the entire
                                                        document)
  81              Werner 000305-000314:                 R, H, O
                  Werner Response to EEOC               (foundation
                  RFI 3.1.16                            Rule 403,
                                                        unnecessarily
                                                        cumulative,
                                                        likely to cause
                                                        juror confusion
                                                        to the extent
                                                        Plaintiff and
                                                        Intervenor
                                                        intend to offer
                                                        the entire
                                                        document)

  82              Werner 000349-000384:                 R, H, O
                  Werner Response to EEOC               (foundation,
                  RFI 10.25.16                          Rule 403,
                                                        unnecessarily
                                                        cumulative,
                                                        likely to cause
                                                        juror confusion
                                                        to the extent
                                                        Plaintiff and
                                                        Intervenor
                                                        intend to offer
                                                        the entire
                                                        document)
  83              Werner 000857: Referring to           R, O
                  Driving Schools (3 pages)             (foundation,
                                                        Rule 403)
  84              Werner 001301: Pre-approval           R, O
                  Statement                             (Rule 403)
  85              Werner 8403: 1.21-1.22.18             R, H, O
                  Rambin/Hunt/Snyder email              (foundation,
                  exchange                              Rule 403)
  86              Werner 21721-21723,                   R, H, O
                  021012-021021: Floyd                  (foundation,
                  McLain application and audit          Rule 403, likely
                  trail                                 to cause juror


                                         9
8:18-cv-00329-JMG-SMB    Doc # 298      Filed: 05/03/23    Page 22 of 57 - Page ID # 4572




                                                          confusion)




  87              Werner 20869, 021601-                   R, H, O
                  021603: Samuel Fernandez                (foundation,
                  application and audit trail             Rule 403, likely
                                                          to cause juror
                                                          confusion)
  88              Werner 21502-21507,                     R, H, O
                  021173: Alexis Fernandez                (foundation,
                  application and audit trail             Rule 403, likely
                                                          to cause juror
                                                          confusion)
  89              Werner 22289-22302,                     R, H, O
                  021204-021211: John Burley              (foundation,
                  application and audit trail             Rule 403, likely
                                                          to cause juror
                                                          confusion)

  90              Werner 20846; 008142-                   R, H, O
                  008154: Russell Smith                   (foundation,
                  Application                             Rule 403, likely
                                                          to cause juror
                                                          confusion)
  91              Werner 21320-21371: Russell             R, H, O
                  Smith application audit trail           (foundation,
                                                          Rule 403, likely
                                                          to cause juror
                                                          confusion)
  92              Werner 008529: Tammy                    R, H, O
                  Helms et al. emails                     (foundation,
                                                          Rule 403, likely
                                                          to cause juror
                                                          confusion)
  93              Werner 21409-21417: David               R, H, O
                  Presley Application                     (foundation,
                                                          Rule 403, likely
                                                          to cause juror
                                                          confusion)
  94              Werner 007857-007859: Jerry             R, H, O
                  Jones Application                       (foundation,
                                                          Rule 403, likely
                                                          to cause juror
                                                          confusion)



                                           10
8:18-cv-00329-JMG-SMB    Doc # 298      Filed: 05/03/23    Page 23 of 57 - Page ID # 4573




  95              Werner 008155-008158:                   R, H, O
                  Samuel Sherman Application              (foundation,
                                                          Rule 403, likely
                                                          to cause juror
                                                          confusion)
  96              Werner 007746-007757:                   R, H, O
                  Ervin Mitchell Application              (foundation,
                                                          Rule 403, likely
                                                          to cause juror
                                                          confusion)
  97              Werner 007884-007931: Juan              R, H, O
                  Sloan Application                       (foundation,
                                                          Rule 403, likely
                                                          to cause juror
                                                          confusion)
  98              Werner 21740-21746: Albert              R, H, O
                  Foster Application                      (foundation,
                                                          Rule 403, likely
                                                          to cause juror
                                                          confusion)
  99              Werner 21005-21007: Albert              R, H, O
                  Foster Application audit trail          (foundation,
                                                          Rule 403, likely
                                                          to cause juror
                                                          confusion)
  100             Werner 007738-007742:                   R, H, O
                  Eduwin Pineiro Application              (foundation,
                                                          Rule 403, likely
                                                          to cause juror
                                                          confusion)
  101             Werner 007763-007783:                   R, H, O
                  Gerson Ramirez Application              (foundation,
                                                          Rule 403, likely
                                                          to cause juror
                                                          confusion)
  102             Werner 007628-007639:                   R, H, O
                  Conley Bowling Application              (foundation,
                                                          Rule 403, likely
                                                          to cause juror
                                                          confusion)
  103             Werner 007839-007850:                   R, H, O, Rule
                  Jason Thomas Application                403, likely to
                                                          cause juror
                                                          confusion)




                                           11
8:18-cv-00329-JMG-SMB    Doc # 298      Filed: 05/03/23    Page 24 of 57 - Page ID # 4574




  104             Defendant’s Answers to                  R, O (Rule 403,
                  EEOC’ First Set of                      unnecessarily
                  Interrogatories 4.24.19                 cumulative
                                                          and/or likely to
                                                          cause juror
                                                          confusion to the
                                                          extent Plaintiff
                                                          and Intervenor
                                                          intend to offer
                                                          the entire
                                                          document)
  105             Defendants’ Supplemental                R, O (Rule 403,
                  Responses to EEOC’s First               unnecessarily
                  Set of Interrogatories 9.27.19          cumulative
                                                          and/or likely to
                                                          cause juror
                                                          confusion to the
                                                          extent Plaintiff
                                                          and Intervenor
                                                          intend to offer
                                                          the entire
                                                          document)
  106             Defendants’ Second                      R, O (Rule 403,
                  Supplemental Responses to               unnecessarily
                  EEOC’s First Set of                     cumulative
                  Interrogatories 11.26.19                and/or likely to
                                                          cause juror
                                                          confusion to the
                                                          extent Plaintiff
                                                          and Intervenor
                                                          intend to offer
                                                          the entire
                                                          document)
  107             Defendants’ Answers to                  R, O (Rule 403,
                  EEOC’s Second Set of                    unnecessarily
                  Interrogatories 12.9.19                 cumulative
                                                          and/or likely to
                                                          cause juror
                                                          confusion to the
                                                          extent Plaintiff
                                                          and Intervenor
                                                          intend to offer
                                                          the entire
                                                          document)




                                            12
8:18-cv-00329-JMG-SMB    Doc # 298      Filed: 05/03/23    Page 25 of 57 - Page ID # 4575




  108             Defendants’ Supplemental                R, O (Rule 403,
                  Answers to EEOC’s Second                unnecessarily
                  Set of Interrogatories 1.17.20          cumulative
                                                          and/or likely to
                                                          cause juror
                                                          confusion to the
                                                          extent Plaintiff
                                                          and Intervenor
                                                          intend to offer
                                                          the entire
                                                          document)
  109             Defendant’s Answers to                  R, O (Rule 403,
                  EEOC’s Fourth Set of                    unnecessarily
                  Interrogatories 3.27.20                 cumulative
                                                          and/or likely to
                                                          cause juror
                                                          confusion to the
                                                          extent Plaintiff
                                                          and Intervenor
                                                          intend to offer
                                                          the entire
                                                          document)
  110             Defendant’s Supplemental                R, O (Rule 403,
                  Answers to EEOC’s Fourth                unnecessarily
                  Set of Interrogatories 4.23.20          cumulative
                                                          and/or likely to
                                                          cause juror
                                                          confusion to the
                                                          extent Plaintiff
                                                          and Intervenor
                                                          intend to offer
                                                          the entire
                                                          document).
  111             Defendants’ Answers to                  R, O (Rule 403,
                  EEOC’s Fifth Set of                     unnecessarily
                  Interrogatories 6.8.20                  cumulative
                                                          and/or likely to
                                                          cause juror
                                                          confusion to the
                                                          extent Plaintiff
                                                          and Intervenor
                                                          intend to offer
                                                          the entire
                                                          document)
  112             Defendants’ Supplemental                R, O (Rule 403,
                  Answers to EEOC’s Fifth Set             unnecessarily
                  of Interrogatories 7.10.20              cumulative
                                                          and/or likely to
                                            13
8:18-cv-00329-JMG-SMB   Doc # 298     Filed: 05/03/23    Page 26 of 57 - Page ID # 4576




                                                        cause juror
                                                        confusion to the
                                                        extent Plaintiff
                                                        and Intervenor
                                                        intend to offer
                                                        the entire
                                                        document)
  113             Defendants’ Responses to              R, O (Rule 403,
                  EEOC’s First Set of Requests          unnecessarily
                  for Admissions 12.10.19               cumulative
                                                        and/or likely to
                                                        cause juror
                                                        confusion to the
                                                        extent Plaintiff
                                                        and Intervenor
                                                        intend to offer
                                                        the entire
                                                        document)
  114             Defendant’s Supplemental              O (Rule 403,
                  Responses to EEOC’s First             unnecessarily
                  Set of Requests for                   cumulative and
                  Admissions 1.17.20                    likely to cause
                                                        juror confusion
                                                        to the extent
                                                        Plaintiff and
                                                        Intervenor
                                                        intend to offer
                                                        the entire
                                                        document).
  115             Defendant’s Answers to                R, O (Rule 403,
                  Intervenor’s First                    unnecessarily
                  Interrogatories 4.19.19               cumulative
                                                        and/or likely to
                                                        cause juror
                                                        confusion to the
                                                        extent Plaintiff
                                                        and Intervenor
                                                        intend to offer
                                                        the entire
                                                        document)
  116             Defendant’s Supplemental              R, O (Rule 403,
                  Answers to Plaintiff                  unnecessarily
                  Intervenor’s First Set of             cumulative
                  Interrogatories 9.27.19               and/or likely to
                                                        cause juror
                                                        confusion to the
                                                        extent Plaintiff
                                                        and Intervenor
                                            14
8:18-cv-00329-JMG-SMB    Doc # 298       Filed: 05/03/23    Page 27 of 57 - Page ID # 4577




                                                           intend to offer
                                                           the entire
                                                           document)

  117             Defendant’s Second                       R, O (Rule 403,
                  Supplemental Answers to                  unnecessarily
                  Plaintiff Intervenor’s First Set         cumulative
                  of Interrogatories                       and/or likely to
                                                           cause juror
                                                           confusion to the
                                                           extent Plaintiff
                                                           and Intervenor
                                                           intend to offer
                                                           the entire
                                                           document)
  118             Defendant’s Third
                  Supplemental Answers to
                  Plaintiff Intervenor’s First Set
                  of Interrogatories 4.23.20
  119             Defendant’s Answers to
                  Plaintiff Intervenor’s Second
                  Set of Interrogatories 3.7.20)
  120             Defendant’s Responses to                 R, O (Rule 403,
                  Plaintiff Intervenor’s First Set         unnecessarily
                  of Requests for Admissions               cumulative
                  4.19.19                                  and/or likely to
                                                           cause juror
                                                           confusion to the
                                                           extent Plaintiff
                                                           and Intervenor
                                                           intend to offer
                                                           the entire
                                                           document)

  121             Defendant’s Supplemental                 R, O (Rule 403,
                  Responses to Plaintiff                   unnecessarily
                  Intervenor’s First Set of                cumulative
                  Requests for Admissions                  and/or likely to
                  9.27.19                                  cause juror
                                                           confusion to the
                                                           extent Plaintiff
                                                           and Intervenor
                                                           intend to offer
                                                           the entire
                                                           document)



                                            15
8:18-cv-00329-JMG-SMB   Doc # 298      Filed: 05/03/23    Page 28 of 57 - Page ID # 4578




  122             Defendant’s Supplemental               R, O (Rule 403,
                  Response to Plaintiff                  likely to cause
                  Intervenor’s First Set of              juror confusion)
                  Requests for Admissions (No.
                  22) 11.25.19
  123             Dr. Arndt 10.9.19 inspection           R, H, O (Rule
                  IMG_5576-IMG_5586                      403,
                                                         Foundation,
                                                         likely to cause
                                                         juror confusion)
  124             Dr. Arndt 10.9.19 inspection           R, H, O
                  MVI_5587                               (Rule 403,
                                                         Foundation,
                                                         likely to cause
                                                         juror confusion)
  125             Dr. Arndt 11.22.19 inspection          R, H, O
                  IMG_5589-IMG_5606                      (Rule 403,
                                                         Foundation,
                                                         likely to cause
                                                         juror confusion)
  126             Dr. Arndt 11.22.19 inspection          R, H, O
                  GB020024 and GB40024                   (Foundation)
  127             Dr. Arndt 12.9.19 inspection           R, H, O
                  GF010038, GF010040,                    (Foundation,
                  GF020038, GF020040,                    Rule 403, likely
                  GF030038, GF030040,                    to cause juror
                  GF040038, GF040040,                    confusion)
                  GF050038, GF050040,
                  GF060038, GF060040,
                  GF070040, GPFR0038 and
                  GPFR0040
  128             Dr. Arndt 1.18.20 inspection           R, H, O
                  GB020253, GB030250,                    (Foundation,
                  GB030251, GB030252,                    Rule 403, likely
                  GB040250, GB040251,                    to cause juror
                  GB050250, GB060250,                    confusion)
                  GB070251, GB080250,
                  GB090250, GB090251,
                  GB100250, GB100251,
                  GB110250, GB120250,
                  GB120251, GB130250,
                  GB130251, GB140250,
                  GB180251, GB190251,
                  GB200251, GB210251,
                  GPBK0251 and GPBK0253



                                          16
8:18-cv-00329-JMG-SMB   Doc # 298     Filed: 05/03/23    Page 29 of 57 - Page ID # 4579




  129             Backpay tables from Expert            H, O
                  Report in the matter of EEOC          (Foundation,
                  v. Drivers Management and             Cumulative,
                  Werner Enterprises and in the         Rule 403)
                  matter of EEOC and Andrew
                  Deuschle v. Werner
                  Enterprises by Nathan Adams,
                  Ph.D. February 21, 2020
                  (Table 1, Table 2 [Deuschle
                  only], Table 4, Table 5
                  [Deuschle only])
  130             2018 and 2019 Werner                  R, H, A, O (to
                  Benefits Chart                        the best of
                                                        defense
                                                        counsel’s
                                                        knowledge, this
                                                        document has
                                                        not been
                                                        produced to
                                                        defense
                                                        counsel.
                                                        Defendant
                                                        reserves the
                                                        right to assert
                                                        any additional
                                                        objections that
                                                        may be
                                                        appropriate if
                                                        and when this
                                                        document is
                                                        produced.)
  131             Defendant’s Second
                  Supplemental Responses to
                  EEOC’s First Set of Requests
                  for Production of Documents
  132             Werner 000590-000817: 2015            R, O
                  version of Werner’s Driver’s          (unnecessarily
                  Handbook                              cumulative
                                                        and/or likely to
                                                        cause juror
                                                        confusion to the
                                                        extent Plaintiff
                                                        and Intervenor
                                                        intend to offer
                                                        the entire
                                                        document)


                                         17
8:18-cv-00329-JMG-SMB   Doc # 298     Filed: 05/03/23    Page 30 of 57 - Page ID # 4580




  133             Werner 001396-001431: 2015            R, H
                  Werner benefits overview
  134             Werner 001505-001548: 2016            R, H, O
                  Werner benefits overview              (unnecessarily
                                                        cumulative
                                                        and/or likely to
                                                        cause juror
                                                        confusion)
  135             Werner 001549-001612: 2016            R, H, O
                  Werner Annual Report                  (Rule 403)
  136             Werner 001613-001621:                 R, H, O
                  Werner financial news release         (Rule 403)
  137             Werner 001622-001665: 2017            R, H, O
                  Werner benefits overview              (unnecessarily
                                                        cumulative
                                                        and/or likely to
                                                        cause juror
                                                        confusion)
  138             Werner 001666-001704:                 R, H, O
                  Werner Driver’s 2017 benefit          (unnecessarily
                  overview                              cumulative
                                                        and/or likely to
                                                        cause juror
                                                        confusion)
  139             Werner 001705-001768:                 R, H, O
                  Werner 2017 Annual Report             (Rule 403)
  141             Werner 001769-001777:                 R, H, O
                  Werner 2017 financial news            (foundation,
                  release                               Rule 403)
  142             Werner 001778-001812:                 R, H, O
                  Werner 2018 benefits decision         (unnecessarily
                  guide                                 cumulative
                                                        and/or likely to
                                                        cause juror
                                                        confusion)
  143             Werner 001813-001848:                 R, H, O
                  Werner 2018 benefits decision         (unnecessarily
                  guide                                 cumulative
                                                        and/or likely to
                                                        cause juror
                                                        confusion)




                                         18
8:18-cv-00329-JMG-SMB   Doc # 298     Filed: 05/03/23    Page 31 of 57 - Page ID # 4581




  144             Werner 001849-001915:                 R, H, O
                  Werner 2018 Annual Report             (Rule 403)
  145             Werner 001916-001931:                 R, H, O
                  Werner 2018 financial news            (foundation,
                  release                               Rule 403)
  146             Werner 001932-001959:                 R, H, O
                  Werner 2019 benefits decision         (unnecessarily
                  guide                                 cumulative
                                                        and/or likely to
                                                        cause juror
                                                        confusion)
  147             Werner 001960-001988:                 R, H, O
                  Werner 2019 benefits decision         (unnecessarily
                  guide                                 cumulative
                                                        and/or likely to
                                                        cause juror
                                                        confusion)
  148             Werner 007494: costs of               R, H, O
                  health care provision                 (unnecessarily
                                                        cumulative
                                                        and/or likely to
                                                        cause juror
                                                        confusion)
  149             Werner 000437-000438:                 R, H, O
                  Desuchle Charge of                    (Rule 403)
                  Discrimination
                  [For the Court]
  150             EEOC-WER000126-000127:                R, H, O
                  Notice of Charge                      (Rule 403)
                  [For the Court]
  151             EEOC-WER000128-000131:                R, H, O
                  Notice of Charge                      (Rule 403)
                  [For the Court]
  152             Werner 000435-000436:                 R, H, O
                  Determination                         (Rule 403)
                  [For the Court]
  153             Werner 000434: Invitation to          R, H, O
                  Conciliation                          (Rule 403)
                  [For the Court]
  154             Werner 000455: Notice of              R, H, O
                  Conciliation Failure                  (Rule 403)
                  [For the Court]
  155             EEOC’s Third Amended                  R, H, O
                  Notice of Rule 30(b)(6)               (Rule 403)
                  Deposition of Defendants

                                            19
8:18-cv-00329-JMG-SMB               Doc # 298      Filed: 05/03/23    Page 32 of 57 - Page ID # 4582




  156                        ECF 184: Plaintiff EEOC’s               R, H, O (Rule
                             Notice of Rule 30 (b)(6)                403,
                             Deposition of Crete Carrier             unnecessarily
                             Corporation                             cumulative)
  157                        ECF 185: Plaintiff EEOC’s               R, H, O (Rule
                             Notice of Rule 30(b)(6)                 403,
                             Deposition of C.R. England,             unnecessarily
                             Inc.                                    cumulative)


  158                        ECF 197: Plaintiff EEOC’s               R, H, O (Rule
                             Notice of Rule 30(b)(6)                 403,
                                                                     unnecessarily
                             Deposition of Covenant
                                                                     cumulative)
                             Transport, Inc.
  159                        ECF 199: Plaintiff EEOC’s               R, H, O (Rule
                             Amended Notice of Rule                  403,
                                                                     unnecessarily
                             30(b)(6) Deposition of Swift
                                                                     cumulative)
                             Transportation Co., Inc.
  160                        ECF 195: Plaintiff EEOC’s               R, H, O (Rule
                             Notice of Rule 30(b)(6)                 403,
                                                                     unnecessarily
                             Deposition of Western
                                                                     cumulative)
                             Express, Inc.
  161                        Deuschle 000005: Crete                  R, H, O (Rule
                             Carrier Driver Qualification            403, foundation)
                             and Identification Certificate

 OBJECTIONS
        R: Relevancy
        H: Hearsay
        A: Authenticity
        O: Other (specify)




                                       CERTIFICATE OF SERVICE


 I hereby certify that on                 , I electronically filed the foregoing with
 the Clerk of the Court using the CM/ECF system, which will send notification of
 such filing to the following:                                                        ,
 and I hereby certify that I have mailed by United States Postal Service the
 document to the following non CM/ECF participants:
                                      .


                                         s/



                                                      20
 8:18-cv-00329-JMG-SMB                Doc # 298       Filed: 05/03/23      Page 33 of 57 - Page ID # 4583




                          IN THE UNITED STATES DISTRICT COURT FOR THE
                                      DISTRICT OF NEBRASKA

         EQUAL EMPLOYMENT
      OPPORTUNITY COMMISSION,                                       CASE NO: 8:18cv329

                        Plaintiff,

                                v.
                                                                DEFENDANT’S PROPOSED
      WERNER ENTERPRISES, INC.,                                    LIST OF EXHIBITS

                    Defendant;
                       and                                    Courtroom Deputy:
                                                              Court Reporter:
            ANDREW DEUSCHLE,

                Plaintiff Intervenor,

                                v.

      WERNER ENTERPRISES, INC.,

                    Defendant.




Trial Date(s): June 5-9, 2023


  EXHIBIT NO.

PLF    DF       3 PTY      DESCRIPTION                        OFF    OBJ             R NOT RCVD   DATE
                                                                                     C
                                                                                     V
                                                                                     D




       201.                CV of William C. Adams                    H

       202.                Position Description, OTR Driver
                           (WERNER 000041) (1 page)

       203.                Deuschle Applications (Werner
                           00004-00006, 00009-00012)

       204.                Deuschle Resume (Werner
                           00008)

       205.                3/30/2015 Application Pre-
                           approval (Werner 000047) (1
                           page)
8:18-cv-00329-JMG-SMB     Doc # 298        Filed: 05/03/23     Page 34 of 57 - Page ID # 4584




    206.       8 April 2015 Gibbs Email
               (Werner 000066-000067)

    207.       27 April 2015 Deuschle Email
               with Attachments (Werner
               000056-000060) (5 pages)

    208.       24 April 2015 Gibbs Email
               (Werner 000062) (1 page)

    209.       27 April 2015 Deuschle Email
               with Attachments (Werner
               000068-000069) (2 pages)

    210.       Receipt and Tracking (Deuschle
               00158-159) (2 pages)

    211.       Werner Driver Handbook,
               September 2014 (Werner
               000073-0000302) (230 pages)

    212.       Werner Safety Video – Space               H/R
               Management (3:48) (Werner
               0000823)                                  O:
                                                         Foundation

    213.       Werner Safety Video – Factors             H/R
               Affecting Following Distance
               (1:47) (Werner 0000824)                   O:
                                                         Foundation

    214.       Werner Safety Video – Managing            H/R
               the Space Behind Your Truck
               (1:18) (Werner 0000825)                   O:
                                                         Foundation

    215.       Werner Safety Video – Managing            H/R
               the Space to the Sides of Your
               Truck (1:12) (Werner 0000828)             O:
                                                         Foundation

    216.       Werner Safety Video – Managing            H/R
               Space While Turning (1:38)
               (Werner 0000830)                          O:
                                                         Foundation

    217.       Werner Safety Video –                     H/R
               Maintaining Safe Speed Based
               on Conditions (2:58) (Werner              O:
               0000833)
                                                         Foundation
8:18-cv-00329-JMG-SMB     Doc # 298       Filed: 05/03/23     Page 35 of 57 - Page ID # 4585




    218.       Werner Safety Video –                    H/R
               Maintaining Safe Speed Based
               on Road Characteristics (2:34)           O:
               (Werner 0000834)
                                                        Foundation

    219.       Werner Safety Video – Excuses            H/R
               Given at Scene of Accident /
               Visual Search Pattern While              O:
               Driving (1:42) (Werner 0000836)
                                                        Foundation

    220.       Werner Safety Video – Steps              H/R
               Required for a Visual Search
               (0:42) (Werner 0000837)                  O:
                                                        Foundation

    221.       Werner Safety Video – Steps              H/R
               Required for a Visual Search:
               Looking Ahead (0:48) (Werner             O:
               0000838)
                                                        Foundation

    222.       Werner Safety Video – Steps              H/R
               Required for a Visual Search:
               Looking Behind and Beside Your           O:
               Truck (1:35) (Werner 0000839)
                                                        Foundation

    223.       Werner Safety Video – Lane               H/R
               Changes and Turning (1:41)
               (Werner 0000841)                         O:
                                                        Foundation

    224.       Werner Hiring Guidelines (1              O:
               page) (Werner 0000843)                   Foundation

    225.       Werner FMCSA Waiver and                  O:
               Accommodation Guideline (2               Foundation
               pages) (Werner 0000851)

    226.       Werner Pass/Reject Rules (4              O:
               pages) (Werner 0000855)                  Foundation

    227.       Werner Qualifying Questions              O:
               Guideline (2 pages) (Werner              Foundation
               0000856)

    228.       Werner Route/Copy/Pend                   O:
               Guideline (3 pages) (Werner              Foundation
               0000860)

    229.       Werner Guideline for Working a           A/H
               Driver’s File (3 pages) (Werner
               0000865)                                 O:
                                                        Foundation
8:18-cv-00329-JMG-SMB      Doc # 298       Filed: 05/03/23     Page 36 of 57 - Page ID # 4586




    230.       Werner Guideline for Student              O:
               Progress Reports (9 pages)                Foundation
               (Werner 0000869)

    231.       Werner New Driver Orientation             O:
               Materials (425 pages) (Werner             Foundation
               0000870-0001294)

    232.       Werner Co-Driver Training Hours           O:
               Guideline (1 page) (Werner                Foundation
               0001295)

    233.       Werner Life on the Road Career            O:
               Track Pilot Program (2 pages)             Foundation
               (Werner 0001299-0001300)

    234.       Werner Life on the Road Career            O:
               Track Welcome Experience (3               Foundation
               pages) (Werner 007520-007522)

    235.       Werner Life on the Road Career            O:
               Track Finishing Program (3                Foundation
               pages)(Werner 007528-007530)

    236.       Werner Student Progress                   O:
               Reports with Checkpoints (3               Foundation
               pages) (Werner 007514-007516)

    237.       Smith System Evaluation and               O:
               Training Forms (4 pages)                  Foundation
               (Werner 007531-007534)

    238.       Werner Close Quarters                     O:
               Maneuvers– Lesson Plan (3                 Foundation
               pages) (Werner 007540-007542)

    239.       Werner Train the Trainer Manual           O:
               (71 pages) (Werner 0002004-               Foundation
               0002074)

    240.       Werner Train the Trainer                  O:
               PowerPoint Presentation (257              Foundation
               pages) (Werner 004108-4364)

    241.       Accommodations, waivers, and              A/H/R
               restrictions guidelines (5 pages)
               (Werner 007509-007513)

    242.       2016 Feb. 5 email from Jim                H/R
               Kochendorfer to Jaime Maus (1
               page) (Werner 008453)

    243.       2016 August 11 correspondence             H/R
               from EEOC (1 page) (EEOC-
               WER000342)
8:18-cv-00329-JMG-SMB      Doc # 298       Filed: 05/03/23     Page 37 of 57 - Page ID # 4587




    244.       Documents received via                    H/R
               Subpoena from Crete Carrier
               Corporation, or pertinent portions
               thereof (331 pages) (Crete 0001-
               0331)

    245.       Documents received via                    H/R
               Subpoena from C.R. England, or
               pertinent portions thereof (173
               pages) (CRE 0001-0173)

    246.       Documents received via                    H/R
               Subpoena from Camelback
               Church of Christ, or pertinent
               portions thereof (8 pages)
               (Camel 0001-0009)

    247.       Documents received from the               H
               Federal Motor Carrier Safety
               Administration via Authorization,         R: as to
               or pertinent portions thereof (25
               pages) (EEOC-DRI 000437-                  portions
               000461 & FMCSA 0001-0020)

    248.       Documents received from Ruan              H/R
               Corporation via Subpoena, or
               pertinent portions thereof (144
               pages) (Ruan 0001-0144)

    249.       Deuschle C.R. England Pay                 R
               Statements (Deuschle 0071-
               0113)

    250.       Deuschle 2014 Form W-2, CR                R
               England (1 page) (Deuschle
               000163)

    251.       Deuschle 2015-2017 Form W-2,
               Crete Carrier Corp (1 page)
               (Deuschle 000164-000166)

    252.       Deuschle 2018-2019 Form W-2,
               Ruan Transport Corporation (2
               pages) (Deuschle 000167,
               00173)

    253.       Deuschle Ruan Transport
               Earnings Statement, December
               20, 2019 (1 page) (Deuschle
               00174)

    254.       Plaintiff-Intervenor’s Second
               Supplemental Responses to
               Defendant’s First Set of
               Interrogatories, February 20,
               2020 (6 pages)
8:18-cv-00329-JMG-SMB     Doc # 298       Filed: 05/03/23     Page 38 of 57 - Page ID # 4588




    255.       78 Fed. Reg. 7479 – 7484 (Feb.           R
               1, 2013) (6 pages)

    256.       Evidence Report Presented to             H/R
               the Federal Motor Carrier Safety
               Administration, August 26, 2008
               (Filing 266-12) (136 pages)

    257.       82 Fed. Reg. 61809 – 61812               R
               (Dec. 29, 2017) (4 pages)

    258.       Effects of Hearing Loss on               H/R:
               Traffic Safety and Mobility,
               Birgitta Thorslund (Filing 275,          Only for
               Page ID #3701-3796) (96 pages)
                                                        limited
                                                        purpose

    259.       FMCSA Analysis Brief of Safety           H/R:
               Performance of Drivers with
               Medical Exemptions, November             Only for
               2016 Filing 275, Page ID #3797-
               3802) (6 pages)                          limited
                                                        purpose

    260.       Driver Distraction in Commercial         H/R:
               Vehicle Operations (September
               2009) (285 pages)                        Only for
                                                        limited
                                                        purpose
    261.       Human Factors Design                     H/R:
               Guidance for Driver-Vehicle
               Interfaces (December 2016) (260          Only for
               pages)
                                                        limited
                                                        purpose
    262.       Role of Driver Hearing in                H/R:
               Commercial Motor Vehicle
               Operation: An Evaluation of the          Only for
               FHWA Hearing Requirement (4
               pages)
                                                        limited
                                                        purpose
    263.       Preliminary analysis of roadway          H/R:
               accident rates for deaf and hard-
               of-hearing drivers (June 2016) (7        Only for
               pages)
                                                        limited
                                                        purpose
    264.       Medical conditions as a                  H/R:
               contributing factor in crash
               causation (2008) (13 pages)              Only for
                                                        limited
                                                        purpose
8:18-cv-00329-JMG-SMB     Doc # 298        Filed: 05/03/23   Page 39 of 57 - Page ID # 4589




    265.       Hearing Disorders and                     H/R:
               Commercial Motor Vehicle
               Drivers (1993) (45 pages)                 Only for
                                                         limited
                                                         purpose
    266.       Forensic Aspects of Driver                H/R:
               Perception and Response (4th
               Ed.) (336 pages)                          Only for
                                                         limited
                                                         purpose
    267.       Pertinent portions of October             R
               2019 Inspection Videos and
               Photographs produced with the
               Expert Report of Steven Arndt

    268.       Pertinent portions of December            R: as to
               2019 Inspection Videos and                portions
               Photographs produced with the             including
               Expert Report of Steven Arndt             Victor
                                                         Robinson
    269.       Pertinent portions of January,            R: as to
               2020 Inspection Videos and                portions
               Photographs produced with
               Expert Report of Steven Arndt

    270.       Plaintiff EEOC’s First                    R
               Supplemental Response and
               Objections to Defendants’ First
               Set of Interrogatories, February
               14, 2020 (46 pages)
 8:18-cv-00329-JMG-SMB                  Doc # 298         Filed: 05/03/23     Page 40 of 57 - Page ID # 4590




        271.                Plaintiff EEOC’s Second                     H/R
                            Supplemental Response and
                            Objections to Defendants’ First             O: not the
                            Set of Interrogatories, February            most recent
                            20, 2020 (49 pages)
                                                                        supplement
                                                                        (4.20.20)
                                                                        and does not
                                                                        reflect
                                                                        complete
                                                                        responses;
                                                                        contains
                                                                        settlement
                                                                        and
                                                                        conciliation
                                                                        information;
                                                                        Mach
                                                                        Mining, LLC
                                                                        v. EEOC,
                                                                        135 S. Ct.
                                                                        1645, 575
                                                                        U.S. 480
                                                                        (2015).
        272.                Plaintiff EEOC’s Second
                            Supplemental Response to
                            Defendants’ Second Set of
                            Interrogatories, March 4, 2020 (7
                            pages)

        273.                Plaintiff Intervenor’s Objections           R
                            and Resppnses to Defendant’s
                            First Set of Interrogatories, April
                            15, 2019 (10 pages)

        274.                Plaintiff Intervenor’s                      R
                            Supplemental Responses and
                            Objections to Defendant’s First
                            Set of Interrogatories, February
                            13, 2020 (7 pages)




OBJECTIONS
       R: Relevancy
       H: Hearsay
       A: Authenticity
       O: Other (specify)
 8:18-cv-00329-JMG-SMB      Doc # 298    Filed: 05/03/23   Page 41 of 57 - Page ID # 4591




                               CERTIFICATE OF SERVICE


I hereby certify that on ______________, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which will send notification of such filing
to
the following: _____________________________________________


, and I hereby certify that I have mailed by United States Postal Service the document to
the following non CM/ECF participants: ______________________________.


                                s/_____________________________
8:18-cv-00329-JMG-SMB       Doc # 298     Filed: 05/03/23   Page 42 of 57 - Page ID # 4592




 Nathan R. Adams
 Washington State Institute for Public Policy                       phone: (360) 664-9070
 110 5th Avenue SE, Suite 214                          email: nathan.adams@wsipp.wa.gov
 Olympia, WA 98501



 Education
 University of Oregon, Eugene, OR
      PhD, Economics, June 2018
            Dissertation: “Essays in Risk Taking, Belief Formation, and Self-Deception”
            Committee: Glen Waddell (Chair), Michael Kuhn, and William Harbaugh
      MS, Economics, December 2014
 Brigham Young University, Provo, UT
      BA, Economics, June 2013

 Experience
 Research Manager, Washington State Institute for Public Policy, 2021–Present
   – Collaborate with research teams on all reports published by the institute to ensure
     methodological quality
   – Provide internal and external methodological training for researchers
   – Supervise direct reports as well as evaluate all researchers on technical expertise
   – Serve as a member of the institute’s leadership and supervisory teams
   – Facilitate relationships with governmental data owners in Washington

 Economist, Equal Employment Opportunity Commission, 2018–2021
   – Served as an expert labor economist, writing expert reports and providing consulting
     advice on statistical evidence of discriminatory employment practices and on back pay
     owed
   – Developed Shiny apps to streamline work processes and to make better-targeted business
     decisions using the agency’s data
   – In both formal and informal settings, taught legal teams statistical concepts

 Independent Instructor, University of Oregon, 2015–2018
    – Independently designed and taught undergraduate economics courses
          EC 311: Intermediate Microeconomics (Winter 2017, Spring 2017)
          EC 320: Introduction to Econometrics I (Summer 2017, Fall 2017)
          EC 350: Labor Economics (Summer 2015, Winter 2016)
          EC 450: Labor Economics (Summer 2016, Spring 2018)
8:18-cv-00329-JMG-SMB        Doc # 298    Filed: 05/03/23    Page 43 of 57 - Page ID # 4593




 Adjunct Professor, Brigham Young University-Idaho, 2016–2018
   – Taught and facilitated online economics courses
         ECON 151: Introductory Macroeconomics (Online: Spring 2016, Fall 2016, Winter
         2017, Fall 2017, Winter 2018, Spring 2018)

 Lab Instructor, University of Oregon, 2013–2015
   – Taught practical sessions of larger economics courses, helping students with homework
      and coding
           EC 101: Introductory Economics (Fall 2013)
           EC 201: Introductory Microeconomics (Winter 2014)
           EC 202: Introductory Macroeconomics (Spring 2014)
           EC 421: Introduction to Econometrics II (Fall 2014, Fall 2015)

 Peer Reviewed Publications
 “Performance and Risk-Taking Under Threat of Elimination,” Journal of Economic Behavior
        and Organization, 2018, 156:41-54 (with Glen Waddell).


 Other Publications
 “Early Achievers evaluation: Access to providers meeting Early Achievers quality standards,”
        Washington State Institute for Public Policy, Document Number 22-12-2201 (with
        Amani Rashid, Rebecca Goodvin, and Kara Krnacik).
 “Legal Financial Obligations in Washington State: Final Report,” Washington State Institute
        for Public Policy, Document Number 22-12-1902 (with Paige Wanner, Morgan Spangler,
        and Devin Bales).
 “What works for whom? Juvenile court assessment tool and program eligibility,” Washington
       State Institute for Public Policy, Document Number 22-06-1902 (with Lauren Knoth-
       Petersen and Colin Gibson).


 Expert Testimony
 Equal Employment Opportunity Commission v. Ring Power Corporation United States
       District Court for the Middle District of Florida, Civil Action No. 3:19-cv-01098.
       Report filed May 17, 2021. Deposition October 15, 2021.


 Working Papers
 “Confidence and Contrition: Is Cheating Internalized in Performance Assessments?” (with
        Glen Waddell and Michael Kuhn), Under Submission
 “Policy-Induced Belief Updating: What Can We Learn from the Extension of Marriage Rights
         to Same-Sex Couples?” (with Glen Waddell), Working Paper
8:18-cv-00329-JMG-SMB       Doc # 298     Filed: 05/03/23   Page 44 of 57 - Page ID # 4594




 “To Aggregate or Not to Aggregate: Issues in Employment Discrimination Analyses,” Working
       Paper


 Works in Progress
 “The Importance of Job Descriptions in Uncovering Workplace Discrimination,” Work in
       Progress
 “How to Get Away with Discrimination: Regional Differences in the Effectiveness of Unem-
       ployment Discrimination Lawsuits,” Work in Progress
 “The Internationalization of Undergraduate Education: Crowd Out and Local Labor Market
        Outcomes,” (with Glen Waddell), Work in Progress
 “Gender Differences in Competitiveness: The Effect of Cheating on Opt-Out Behavior,” (with
       Erica Birk and Glen Waddell), Work in Progress


 Specializations
 Applied Microeconometrics, Labor, Discrimination, Behavioral, Experimental


 Other Professional Experience
 Conferences and Invited Presentations
       Western Economic Association International Conference, Portland, July 2016.
       Using Desktop Tools to Develop Statistical Evidence, EEOC Webinar, May 2019.
 Referee
       Economics of Education Review
 Committees
       GAO Entrance Conference—“Prevalence of Sexual Harrassment in the U.S. Workplace”



 Honors and Awards
 EEOC Recognition Award, Equal Employment Opportunity Commission, 2020
 EEOC Recognition Award, Equal Employment Opportunity Commission, 2019
 Graduate Teaching Fellowship, University of Oregon, 2013-2018
 Graduate Employee Teaching Award, University of Oregon, 2017
 Best Econometrics Performance Award, University of Oregon, 2014
 Kleinsorge Fellowship Award, University of Oregon, 2013-2014
8:18-cv-00329-JMG-SMB          Doc # 298      Filed: 05/03/23     Page 45 of 57 - Page ID # 4595




                                 Don D. Olds Expert Qualifications




 I.      Background/Expertise (Fed. R. Civ. P. 26(a)(2)(B)(iv)-(v)): My name is Don D. Olds. I
 am a truck driver trainer of individuals who are both deaf/hard of hearing and have a Department
 of Transportation (DOT)/Federal Motor Carrier Safety Administration (FMCSA) hearing
 exemption 1. I also train those without hearing exemptions. I began my career in truck driving in
 1993 at the age of 21 when I joined the U.S. Army and served as a Petroleum Supply Specialist.
 In the twenty-four (24) years since I left the Army in 1996, I have worked almost exclusively in
 the trucking industry (during this time I worked twenty-three (23) months in non-trucking jobs,
 including twelve (12) months as a heavy equipment operator). I was issued my Class A
 commercial driver’s license (CDL) in 1996, with a tanker endorsement and hazardous material
 (hazmat) endorsement and have maintained this CDL continuously. I currently maintain a
 commercial driver’s license with endorsements for a tanker trailer, doubles and triple trailer.

 I began my career as a truck driver trainer a decade ago, in April 2010, and have worked almost
 uninterrupted during this time for Action Career Training (ACT) in Abilene, Texas. Class sizes
 range from three to fifteen, with an average of three to four students per truck. I estimate that I
 have trained between 400 and 500 student drivers. I started training those with a DOT/FMCSA
 hearing exemption to become truck drivers in 2013. In the past I have used certified and level
 four student sign language interpreters when I taught in the classroom and yard/range. I now
 teach all parts of the course without an interpreter because I’ve taken four semesters of American
 Sign Language (ASL) classes at Howard College, Southwest Collegiate Institute of the Deaf
 (SWCID; now called SouthWest College for the Deaf), from 2013-2015.

 I have consulted, at no charge, on the issue of drivers with a DOT/FMCSA hearing exemption
 with the West Central Texas Council of Governments’ Law Enforcement Academy’s Training
 Center, the Ohio Department of Motor Vehicles, truck driving companies (e.g., Schneider,
 Covenant, JBS, Central Oregon Truck, etc.), and schools (e.g., Roadmaster, Champlain Valley
 Truck Driver Training School, New Mexico Junior College, etc.).

 I have not authored any publications in the past ten years. I was, however, retained as an expert
 in another federal case – Frilando v. Dutchess School of Driving, Case No. 7:15-cv-3972
 (S.D.N.Y. 2015).




                                                  1
               8:18-cv-00329-JMG-SMB          Doc # 298   Filed: 05/03/23         Page 46 of 57 - Page ID # 4596




                                                              STEVEN R. ARNDT, PhD, CHFP

                                                                                Human Factors


     EDUCATION                                       PROFESSIONAL PROFILE
     UNIVERSITY OF WISCONSIN                         Dr. Arndt is a human factors scientist. Human factors is
       PhD, Industrial Engineering - Human           the scienti c eld of research dealing with the capabilities
       Factors Specialization, 1996                  and limitations of people as they interact with systems
       MSIE, Industrial Engineering - Human          made up of products, tools, technology, information,
       Factors Specialization, 1991                  organizations, environments, and other people. He
       BS, Psychology, 1988
                                                     specializes in human perception, human performance, and
                                                     ergonomics associated with industrial and occupational
     LICENSES & CERTIFICATIONS                       safety, consumer product design and use, as well as
       Certi cant, Board of Certi cation in          p e d e s t r i a n a n d d r i v e r / o p e ra t o r b e h a v i o r s a n d
       Professional Ergonomics, CHFP                 performance. Dr. Arndt is a consultant with substantial
       #1644 (2011)                                  experience in the investigation and prevention of accidents
                                                     and injuries related to consumer products, warning labels,
     AFFILIATIONS                                    instructions, training, industrial and occupational settings,
                                                     and transportation related systems.
       Human Factors and Ergonomics
       Society
       American Society of Safety Engineers          Dr. Arndt also investigates operator behavior, decision-
       Society of Automotive Engineers               making, perceptual capabilities and limitations associated
       (SAE)                                         with vehicle operation, and decision and motor control
       American Society of Testing and               response times. Pedestrian and motor vehicle work has
       Materials                                     included the assessment of visibility and conspicuity of
               E30 on Forensic Sciences              objects in low-light and low-visibility environments as well
               E34 on Occupational Health            as driver distraction.
               and Safety
                                                     AREAS OF EXPERTISE
               E58 on Forensic Engineering
               F13 on Pedestrian/Walkway               Human Factors and Human Performance
               Safety and Footwear                     Ergonomics and Safety
               F15 on Consumer Products                Warnings, Labeling, and Instructions
               F18 on Electrical Protective            Human Factors of Transportation
               Equipment for Workers                   Driver Behaviors, Capabilities, and Limitations
               F24 on Amusement Rides and              Visibility and Conspicuity
               Devices                                 Industrial and Construction Machinery Operation and
                                                       Safety
                                                       Consumer Product Design and Safety

                                                     CONTACT INFORMATION

                                                     (312) 350-8774 | sarndt@explico.com | explico.com
fi
          fi
                fi
                        fi
    8:18-cv-00329-JMG-SMB           Doc # 298      Filed: 05/03/23      Page 47 of 57 - Page ID # 4597


Steven R. Arndt, PhD, CHFP
Human Factors


EXPERIENCE

   Explico
   Principal — 2015-Present

   Exponent Failure Analysis Associates, Inc.
   Human Factors
   Principal — 2005-2015
   Senior Managing Scientist — 2003-2005
   Managing Scientist — 2000-2003
   Senior Engineer/Scientist — 1998-2000
   Engineer/Scientist — 1996-1998

   Wisconsin Center for Space Automation and Robotics (WCSAR)
   Graduate Research Assistant — 1993-1996

PEER REVIEWED PUBLICATIONS

   Kappler E., Figueroa Jacinto R., Arndt S. (2022). Evaluation of Visual Acuity and Perceptual Field of View
   Using the Varjo XR-3 Headset in a Virtual Environment. In Proceedings of the Human Factors and
   Ergonomics Society Annual Meeting.

   Figueroa Jacinto R., Kappler E., Petroskey K., Arndt S., Leipold T. (2022). Naturalistic Observations of
   Human Driving Perceptions and Vehicle Kinematics at Stop Sign-Controlled Intersections. In Proceedings
   of the Human Factors and Ergonomics Society Annual Meeting.

   Funk C, Petroskey K, Arndt S, Vozza A. Vehicle Speci c Headlamp Mapping for Nighttime Visibility. Society
   of Automotive Engineers, SAE 2021-01-0880, 2021.

   Figueroa-Jacinto R., Kappler E., Jin X., Arndt, S., Rundell, S. (2021). Face Validity of Various Display
   Methodologies in Conveying Spatial Awareness and Depth Perception. In Proceedings of the Human
   Factors and Ergonomics Society Annual Meeting.


   Alper SJ, Arndt SR, Borgardt J, Johnson K, (2019). Human Factors And Medical Device Instructions For
   Use: It’s Not Just Good Business And Good Science, It’s The Law. In Proceedings of the Human Factorsand
   Ergonomics Society International Health Care Symposium, Chicago, IL.




NOVEMBER 2022                                                                                            PAGE 2
                                            fi
    8:18-cv-00329-JMG-SMB          Doc # 298      Filed: 05/03/23      Page 48 of 57 - Page ID # 4598


Steven R. Arndt, PhD, CHFP
Human Factors


   Sproule D, Figueroa-Jacinto R, Rundell S, Williams J, Perlmutter S, Arndt S, (2019). Characterization
   of Visual Acuity and Contrast Sensitivity Using Head-Mounted Displays in a Virtual Environment: A
   Pilot Study. In Proceedings of the Human Factors and Ergonomics Society Annual Meeting, Seattle,
   WA.

   Figueroa-Jacinto R, Sproule D, Williams J, Perlmutter S, Arndt S, Rundell S, (2019). Application of
   Stereoscopic Head-Mounted Displays and Interactive Virtual Reality Environments to an “Optical
   Illusion” Misstep and Fall Case. In Proceedings of the Human Factors and Ergonomics Society Annual
   Meeting, Seattle, WA.

   Figueroa-Jacinto R, and Arndt S, (2018). Prevalence of the Use of Mobile Instant Messaging
   Applications: The Need to Assess Their Usage in Human Factors Investigations. In Proceedings of the
   Human Factors and Ergonomics Society Annual Meeting (Vol. 62, No. 1, pp. 406–410). Philadelphia,
   PA.

   Perlmutter S, Cades DM, Heller MF, Giachetti RS, Sala JB, Arndt SA. Effects of mobile technology use
   on walking. Proceedings, 58th Human Factors and Ergonomics Society Annual Meeting, 2014.

   Quartuccio J, Franz S, Gonzalez C, Kenner NM, Cades DM, Sala JB, Arndt, SA, McKnight, PE. Seeing
   is believing: The use of data visualization to identify trends for cycling safety. Proceedings, 58th
   HumanFactors and Ergonomics Society Annual Meeting, 2014.

   Cades DM, Arndt SR, Kwasniak AM. Driver distraction is more than just taking eyes off the road.
   Institution of Transportation Engineers Journal 2011; 81(7).

   Weaver B, Ruberte L, Khan F, Arndt, S. Normal pedal activation in real world situations. SAE
   11B-0291/2011-01-0551, SAE World Congress 2011, Detroit, MI, 2011.

   Khan F, Sala J, Arndt S. Reducing subjectivity when attempting auditory scene recreation in
   accident reconstruction. Proceedings, Human Factors and Ergonomics Society 54th Annual
   Meeting, San Francisco, CA, 2009.

   Vigilante W, Rhoades T, Arndt SR, Cohen HH. Forensic human factors/ergonomics practice from the
   perspective of the forensic consulting ﬁrms. Proceedings, 53rd Annual Meeting of the Human Factors
   and Ergonomics Society, San Antonio, TX, 2009.

   Arndt S, Krauss D, Weaver B. A previously unidentiﬁed failure mode for ladder-climbing fall-protection
   systems. Proceedings, American Society of Safety Engineers Professional Development Conference
   and Exposition, Las Vegas, NV, 2008.



NOVEMBER 2022                                                                                          PAGE 3
    8:18-cv-00329-JMG-SMB            Doc # 298      Filed: 05/03/23      Page 49 of 57 - Page ID # 4599


Steven R. Arndt, PhD, CHFP
Human Factors


   Arndt SR, Wood CT, Delahunt PB, Wall CT, Krauss DA. Who’s in the back seat? A study of driver
   inattention. Proceedings, 50th Annual Meeting of the Human Factors and Ergonomics Society, Santa
   Monica, CA, 2006.

   Krauss DA, Kuzel MJ, Arndt SR, Delahunt PB. Validation of digital image representations of
   low-illumination scenes. SAE Paper 2006-01-1288, Society for Automotive Engineers, Inc.,
   2006.

   Arndt SR, Hammoud SA, Cargill RS. Head accelerations experienced during everyday activities and
   while riding roller coasters. Proceedings, 48th Annual Meeting of the Human Factors and Ergonomics
   Society,New Orleans, LA, 2004.

   Al-Tarawneh IS, Stevens WJ, Arndt SR. An analysis of home and hospital medical device incidents in
   the MAUDE database. Proceedings, 48th Annual Meeting of the Human Factors and Ergonomics
   Society, Santa Monica, CA, 2003.

   Arndt SR, Al-Tarawneh IS. Fixed-site amusement park injuries: An examination of two sources of
   data. Proceedings, 47th Annual Meeting of the Human Factors and Ergonomics Society, Santa
   Monica, CA, 2003.

   Arndt SR, Cargill RS. Everyday life accelerations. Injury Insights, Publication of the National Safety Council,
   p. 6–7, June/July 2003.

   Wood CT, Arndt S, Kelkar R. Children’s use of various internal automobile trunk release mechanisms
   intended to reduce child entrapment risk. Proceedings, Human Factors and Ergonomics Society
   Annual Meeting, pp. 912–915, 1999.

   Arndt S, Ayres T, McCarthy R, Schmidt R, Wood CT, Young D. Warning labels and accident data.
   Proceedings, Human Factors and Ergonomics Society Annual Meeting, pp. 550–553, Chicago, IL,
   October1998.




NOVEMBER 2022                                                                                             PAGE 4
    8:18-cv-00329-JMG-SMB          Doc # 298      Filed: 05/03/23    Page 50 of 57 - Page ID # 4600


Steven R. Arndt, PhD, CHFP
Human Factors


OTHER PUBLICATIONS

   Cades DM, Arndt SR, Sala JB, Krauss DA. What you need to know about the distracted driver.
   Feature Article in The Illinois Association of Defense Trial Counsel Quarterly 2013; 23(4)

   Khan FS, Krauss DA, Alper SJ, Droll J, Arndt SR, Lakhiani SD, Cades DM. Do people heed warnings at
   gasstations? Proceedings, 2nd Annual World Conference of the Society for Industrial and Systems
   Engineering, pp. 114–117, Las Vegas, NV, November 5–7, 2013. ISBN: 97819384960-1-1.

   Tsuji JS, Dahlstrom DL, Arndt SR, Rogers WS, Clark JA. Best uses of experts in producing labels and
   warnings for products containing engineered nanomaterials. BNA Expert Evidence Reporter, 12 EXER
   20, January 9, 2012.

   Tsuji JS, Dahlstrom DL, Arndt SR, Rogers WS, Clark JA. Labeling and warning for products
   containing engineered nanomaterials—Learning from the past or we are doomed to repeat it. Part II.
   BNA Tort Law Reporter, 26 TXLR 1435, December 8, 2011.

   Tsuji J, Dahlstrom DL, Arndt S, Rogers Wm, Clark J. Labeling and warning for products containing
   engineered nanomaterials—Learning from the past or we are doomed to repeat it? Part I, BNA
   Product Safety & Liability Reporter, Vol.39, PSLR 1283, November 21, 2011.

   Tsuji J, Dahlstrom DL, Arndt S, Rogers Wm, Clark J. Engineered nanomaterials in the workplace: What
   todo when the genie is out of the bottle. BNA Toxic Law Reporter, Vol. 26, No. 27, July 14, 2011.

   Khan FS, Sala JB, Arndt SR. Considerations in the textless presentation of warning and safety information.
   Proceedings, 15th Annual International Conference on Industrial Engineering Theory, Applications and
   Practice, Mexico City, Mexico, 2010.

   Khan FS, Sala JB, Arndt SR. Psychoacoustic response to auditory warnings. Proceedings, 14th Annual
   International Conference on Industrial Engineering Theory, Applications and Practice, Anaheim, CA,
   2009.

   Khan FS, Arndt SR, Krauss DA. Understanding the relationship between safety climate and warning
   compliance in occupational settings. Proceedings, 14th Annual International Conference on Industrial
   Engineering Theory, Applications and Practice, Anaheim, CA, 2009.




NOVEMBER 2022                                                                                         PAGE 5
    8:18-cv-00329-JMG-SMB           Doc # 298      Filed: 05/03/23     Page 51 of 57 - Page ID # 4601


Steven R. Arndt, PhD, CHFP
Human Factors


   Krauss D, Arndt S, Lakhiani S, Khan F. Additional considerations when applying the “Safety
   Engineering Hierarchy” in industrial work settings. Proceedings, 13th Annual International
   Conference on Industrial Engineering: Theory, Applications and Practice, Las Vegas, NV, 2008.
   Arndt S, Young D, Krauss D. Human factors issues in trucking—What does a qualiﬁed expert need
   toknow? Trucking Law Seminar, Phoenix, AZ, April 17, 2008.

   Huntley-Fenner G, Arndt S, Sanders K. Case study: Pedestrian behavior at grade crossings.
   Proceedings, 9th Annual International Conference on IndustrialEngineering: Theory, Applications
   and Practice, 2005; 10:69–73.

   Arndt S, Ayres TJ, Li L, Wood CT, Young D. Human factors in product recall planning. Proceedings,
   6th Annual International Conference on Industrial Engineering—Theory, Applications and Practice,
   San Francisco, CA, November 18–20, 2001.

   Arndt SR, Hammoud S, Kennett K. The role of human factors, biomechanics and accident
   reconstructionin forklift accident investigations. Proceedings, 6th Annual International Conference on
   Industrial Engineering—Theory, Applications and Practice, San Francisco, CA, November 18–20, 2001.

   Arndt S, Humphrey D, Kelkar R, Kelsh M, McCarthy R, Mrad R. Repetitive stress injuries: incidence
   trends, the regulatory landscape and verdict. Proceedings, Silicon Valley Ergonomics Conference &
   Exposition, ErgoCon ’99, San Jose, CA, June 1–4, 1999.

   Ayres TJ, Wood CT, McCarthy RL, Arndt SR. Relative rollover risk estimates for pickup trucks.
   Proceedings, 7th International Conference on Product Safety Research, Washington, DC, 1999.

   Wood CT, Arndt SR, McCarthy RL. Using risk analysis to reduce the hazards on playgrounds.
   Proceedings, National Manufacturing Week Conference, Chicago, IL, March 1998.

   Ayres TJ, Arndt SR, Young DE. Product-related risk of falling among the elderly. Proceedings, Silicon Valley
   Ergonomics Conference and Exposition, San Jose, CA, 1998.

DISSERTATION

   Gauging and Predicting Manual Assembly Performance in Impaired Populations: An Analysis of the
   Reliability, Validity and Utility of the Telerobotic Performance Analysis System (TPAS), A Dissertation
   Submitted in Partial Ful llment of the Requirements for the Degree of Doctor of Philosophy (Industrial
   Engineering) at the University of Wisconsin-Madison, 1996




NOVEMBER 2022                                                                                          PAGE 6
              fi
      8:18-cv-00329-JMG-SMB          Doc # 298      Filed: 05/03/23     Page 52 of 57 - Page ID # 4602


Steven R. Arndt, PhD, CHFP
Human Factors



PROFESSIONAL DEVELOPMENT


     CRASH SAFETY SOLUTIONS
     Advanced Human Factors for Tra c Crash Reconstruction

     SOCIETY OF AUTOMOTIVE ENGINEERS
     Accident Reconstruction, the Autonomous Vehicle and ADAS 2020
     Driver Distraction from Electronic Devices: Insights and Implications, 2020
     Applying Automotive EDR Data to Tra c Crash Reconstruction, 2020
     Introduction to Brake Controls: ABS, TCS, and ESC, 2020
     Fundamentals of Vehicle Dynamics, 2020

     OCCUPATIONAL/INDUSTRIAL HEALTH AND SAFETY
     Boom and Scissor Lift (Type 3, Groups A&B) Operator Training, 2021, JLG (OSHA/ANSI Compliant Course)
     MEWP Supervisor Training Course, 2021, JLG (OSHA Compliant Course)
     Team Leader for Process Hazard Analysis (PHA), 2013, Primatech (OSHA Compliant Course)
     Quali ed Individual for Fall Protection, 2008, (OSHA Compliant Course)
     Forklift Safety Trainer, 2007, (OSHA Compliant Course)
     OSHA-30 General Industry Train the Trainer, 2000 (OSHA Compliant Course)

     OTHER
     Protecting Human Research Participants — Training for Institutional Review Boards, 2020
     USCCA Defensive Shooting Instructor, 2019
     FAA Rated Remote Pilot (SUAS), 2017




NOVEMBER 2022                                                                                      PAGE 7
fi
                              ffi
                              ffi
8:18-cv-00329-JMG-SMB   Doc # 298   Filed: 05/03/23   Page 53 of 57 - Page ID # 4603




                                                                                  Exhibit A
8:18-cv-00329-JMG-SMB   Doc # 298   Filed: 05/03/23   Page 54 of 57 - Page ID # 4604
8:18-cv-00329-JMG-SMB   Doc # 298   Filed: 05/03/23   Page 55 of 57 - Page ID # 4605




                                                                                  Exhibit B
8:18-cv-00329-JMG-SMB   Doc # 298   Filed: 05/03/23   Page 56 of 57 - Page ID # 4606




                                                                                  Exhibit C
8:18-cv-00329-JMG-SMB   Doc # 298   Filed: 05/03/23   Page 57 of 57 - Page ID # 4607
